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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


UNITED STATES OF AMERICA,                               5:22-CR-50018-JLV

                   Plaintiff,
                                                 ORDER DENYING DEFENDANT’S
       vs.                                           MOTION TO PROVIDE
                                                    MEDICATIONS (DOC. 36)
MATTHEW PEPIN,

                   Defendant.



      Defendant Matthew Pepin filed a motion requesting that the Court order

the Pennington County Jail to provide Defendant with his previously ordered

mental health medications. (Doc. 36). The United States opposes the motion.

(Doc. 39). The pending motion was referred to this Magistrate Judge pursuant

to 28 U.S.C. § 636(b)(1)(B) and Chief Judge Jeffrey L. Viken’s Standing Order

dated April 1, 2018.

                                  DISCUSSION

      18 U.S.C. § 4001 grants the Attorney General the authority to supervise

federal prisoners. The Attorney General may enter into agreements with state

and local facilities for the safekeeping, care, and subsistence of prisoners. 18

U.S.C. §§ 4002, 4013. Pursuant to 18 U.S.C. § 4086, the “United States

Marshals shall provide for the safe-keeping of any person arrested, or held

under authority of any enactment of Congress pending commitment to an

institution.” The Attorney General has delegated to the U.S. Marshals the


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authority for the “acquisition of adequate and suitable detention space, health

care and other services and materials required to support prisoners under the

custody of the U.S. Marshal who are not housed in Federal facilities.” 28

C.F.R. § 0.111(o). Further, the Director of the United States Marshal Service

shall direct and supervise “[s]ustention of custody of Federal prisoners from the

time of their arrest by a marshal or their remand to a marshal by the court,

until the prisoner is committed by order of the court to the custody of the

Attorney General for the service of sentence.” 28 C.F.R. § 0.111(k). Finally, the

detention provisions in 18 U.S.C. § 3142(i) do not limit the Attorney General’s

discretion to select the appropriate forum for the pre-trial detention of a

defendant awaiting trial.

      “[T]he supervision of inmates who are legally confined in federal

institutions are the exclusive prerogatives of the proper administrative

authorities and . . . the federal courts will not interfere with such

administration[.]” Haynes v. Harris, 344 F.2d 463, 465 (8th Cir. 1965)

(citations omitted); see Frazier v. Ciccone, 506 F.2d 1022, 1024 (8th Cir. 1974)

(“It is not the function of the courts to run the prisons, or to undertake to

supervise the day-to-day treatment and disciplining of individual inmates;

much must be left to the discretion and good faith of prison administrators.”

(quoting Sawyer v. Sigler, 445 F.2d 818, 819 (8th Cir. 1971)); Garcia v. Steele,

193 F.2d 276, 278 (8th Cir. 1951). The Attorney General is vested with the

authority to determine where pretrial detainees should be housed and the




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logistics of providing adequate health care. The court will not interfere with

those determinations. No good cause appearing, it is hereby

      ORDERED that Defendant’s motion to provide Defendant with his

previously ordered mental health medications is denied.

                            NOTICE OF RIGHT TO APPEAL

      Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

of this order before the district court upon a showing that the order is clearly

erroneous or contrary to law. The parties have fourteen (14) days after service

of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1)(A),

unless an extension of time for good cause is obtained. See FED. R. CRIM. P.

58(g)(2); 59(a). Failure to file timely objections will result in the waiver of the

right to appeal questions of fact. FED. R. CRIM. P. 59(a). Objections must be

timely and specific in order to require review by the district court.

      DATED this 19th day of August, 2022.
                                       BY THE COURT:


                                       DANETA WOLLMANN
                                       United States Magistrate Judge




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